Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 1 of 13 PagelD #: 3015

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

GAVRIELI BRANDS LLC, a California
Limited Liability Company,

Plaintiff,

v. C.A. No. 18-462 (MN)

SOTO MASSINI (USA) CORP., a Delaware
corporation and THOMAS PICHLER, an
individual,

Neue Ne? Nee” ee” ee” ee”? ee Ne NL

Defendants.

VERDICT FORM

 
_ Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 2 of 13 PagelD #: 3016

INSTRUCTIONS
In answering the following questions and filling out this Verdict Form, you are to follow
all of the instructions I have given you in the Court’s charge. Your answer to each question must
be unanimous. Some of the questions contain legal terms that are defined and explained in detail
in the Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning
or usage of any legal term that appears in the questions below.

As used herein:

1. “The ’035 Patent” refers to U.S. Design Patent No. D781,035;
2. “The ’032 Patent” refers to U.S. Design Patent No. D781,032;
3. “The 034 Patent” refers to U.S. Design Patent No. D781,034; and
4, “The °927 Patent” refers to U.S. Design Patent No. D681,927.

These four patents are together sometimes referred to as “the patents-in-suit.”
“Gavrieli” or “Tieks” refers to Plaintiff Gavrieli Brands LLC, “Soto Massini” refers to
Defendant Soto Massini (USA) Corp., “Mr. Pichler” refers to Defendant Thomas Pichler, and the

“Soto Massini Defendants” collectively refers to Soto Massini and Mr. Pichler.
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 3 of 13 PagelD #: 3017

INFRINGEMENT OF THE PATENTS-IN-SUIT

Question #1: Did Tieks prove by a preponderance of the evidence that the Soto Massini
Defendants infringed the patents-in-suit listed below?

Yes No
(for Tieks) (for the Soto Massini

Defendants)
The ’035 Patent: J

The ’032 Patent:

The ’034 Patent:

The ’927 Patent: y

 
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 4 of.13 PagelD #: 3018

WILLFUL INFRINGEMENT

Tf you answered “Yes” for any patent in Question #1, you must answer Question #2 for
that patent. If you answered “No” to all portions of Question #1, you should skip this question
and proceed to Question #3.

Question #2: Did Tieks prove by a preponderance of the evidence that the Soto Massini

Defendants’ infringement of the patents-in-suit listed below was willful?

Yes No
(for Tieks) (for the Soto Massini
Defendants)
The ’035 Patent: \Z
The ’032 Patent: VA
The ’034 Patent: S/
The ’927 Patent: | ,
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 5 of 13 PagelD #: 3019

VALIDITY OF THE PATENTS-IN-SUIT

Question #3: Did the Soto Massini Defendants prove by clear and convincing evidence that any

of the patents-in-suit are invalidated by the prior art you were instructed to

consider?
Yes . No
(for the Soto Massini (for Tieks)
Defendants)

The ’035 Patent: /

The ’032 Patent:

The ’034 Patent:

The °927 Patent: ,

 
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 6 of 13 PagelID #: 3020

TRADE DRESS INFRINGEMENT

Question #4: Did Tieks prove by a preponderance of the evidence that the Soto Massini

Defendants infringed Tieks’s trade dress?

Yes No
(for Tieks) (for the Soto Massini

Defendants)

a

Ifyou answered “Yes” to Question #4, you must answer Question #5. If you answered “No” to

Question #4, you should skip this question and proceed to Question #6.

Question #5: Did Tieks prove by a preponderance of the evidence that the Soto Massini
Defendants intentionally infringed Tieks’s trade dress?

Yes . No
(for Tieks) (for the Soto Massini

| Defendants)
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 7 of 13 PagelD #: 3021

FALSE ADVERTISING

Question #6: Did Tieks prove by a preponderance of the evidence that the Soto Massini

Defendants are liable for false advertising?

Yes No
(for Tieks) (for the Soto Massini
Defendants)

aL

If you answered “Yes” to Question #6, you must answer Question #7. If you answered
“No” to Question #6, you should skip this question and proceed to Question #8.

Question #7: Did Tieks prove by a preponderance of the evidence that the Soto Massini

Defendants intentionally engaged in false advertising?

Yes No
(for Tieks) (for the Soto Massini
Defendants)

 
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 8 of 13 PagelID #: 3022

UNFAIR COMPETITION
The parties have stipulated that if you find that the Soto Massini Defendants infringed
Tieks’s trade dress or are liable for false advertising, or both, then the Soto Massini Defendants

are also liable for unfair competition under federal, common, and state law. Please proceed to the

next question.
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 9 of 13 PagelD #: 3023

UNJUST ENRICHMENT

Question #8: Did Tieks prove by a preponderance of the evidence that the Soto Massini
Defendants have been unjustly enriched?

Yes No
(for Tieks) (for the Soto Massini

/ Defendants)

 
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 10 of 13 PagelID #: 3024

COMPENSATORY DAMAGES FOR PATENT INFRINGEMENT

If you answered “Yes” to any portion of Question #1 (infringement), you must answer
Question #9. Ifyou answered “No” to all portions of Question #1, you should skip this question
and proceed to Question #10.

Question #9: What amount, if any, did the Soto Massini Defendants earn in profits from their

sale of products that infringed any of the patents-in-suit?

Answer: $ 080 f 056: , “| 100
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 11 of 13 PagelD #: 3025

COMPENSATORY DAMAGES FOR TRADE DRESS, FALSE ADVERTISING, UNFAIR
COMPETITION, AND UNJUST ENRICHMENT

If you answered “Yes” to Question #4 (trade dress infringement) or Question #6 (false
advertising liability), you must answer Questions #10 through #12. If you answered “No” to
Questions #4 and #6, you should skip these questions and proceed to Question #13.

Question #10: What amount of damages is Tieks entitled to as compensation for loss of
goodwill caused by the Soto Massini Defendants’ trade dress infringement, false

advertising, or unfair competition?

Answer: $ L, 2O2. O00. MY a

Question #11: What amount of damages is Tieks entitled to as compensation for corrective
advertising required to correct any public confusion caused by the Soto Massini

Defendants’ trade dress infringement, false advertising, or unfair competition?
Answer: $ 40, COO, Ye

Question #12: What amount, if any, did the Soto Massini Defendants earn in profits that is
attributable to their trade dress infringement, false advertising, or unfair

competition?

Answer: $ O80 } (56 Teo

10

 

 
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 12 of 13 PagelD #: 3026

Ifyou answered “Yes” to Question #8 (unjust enrichment), you must answer Question #13.
Ifyou answered “No” to Question #8, you should skip this question and proceed to Question #1 4.

Question #13: What amount of damages should be awarded to Tieks as compensation for the

Soto Massini Defendants’ unjust enrichment?

Answer: $

 

11
Case 1:18-cv-00462-MN Document 144 Filed 05/03/19 Page 13 of 13 PagelD #: 3027

PUNITIVE DAMAGES

If you answered “Yes” to Question #5, finding that the Soto Massini Defendants
intentionally infringed Tieks’s trade dress and violated state unfair competition law, or Question
#7, finding that the Soto Massini Defendants intentionally engaged in false advertising and
violated state unfair competition law, you must answer Question #14. If you answered “No” to
Questions #5 and #7, you should skip this question.

Question #14: What amount of punitive damages, if any, do you award Tieks?

Answer: $ D

12

 
